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                                                                                              United States District Court
                                                                                                Southern District of Texas

                                                                                                   ENTERED
                                                                                                   April 12, 2021
                              UNITED STATES DISTRICT COURT
                                                                                                Nathan Ochsner, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

UNITED STATES OF AMERICA,             §
                                      §
      Plaintiff,                      §
                                      §
VS.                                   §
                                      § CIVIL ACTION NO. 7:20-cv-00244
6.584 ACRES OF LAND, more or less, in §
HIDALGO COUNTY, TEXAS; and HEIRS §
OF RAUL CAVAZOS, et al.,              §
                                      §
      Defendants.                     §

                                                 ORDER

        In light of the proclamations and orders of various authorities recognizing the COVID-19
pandemic and limiting travel and person-to-person contact,1 the Court ORDERS that the parties’
April 13, 2021 initial pretrial conference will be conducted using the Zoom for Government
videoconference application (www.zoomgov.com). Courtroom business attire will be required of
all attorneys during the conference. Laptops with a camera feature, cell phones, and electronic
tablets may be used as long as the ZoomGov application is functional on the device. The Court
will communicate details regarding the methods of participation in the videoconference to the
parties on the business day prior to the scheduled hearing. All parties intending to appear at the
videoconference should have current contact information on file with the Clerk of the Court.
        IT IS SO ORDERED.
        DONE at McAllen, Texas, this 12th day of April 2021.


                                                      ___________________________________
                                                                   Micaela Alvarez
                                                              United States District Judge


1
  See Proclamation No. 9994, 85 Fed. Reg. 15,337 (Mar. 13, 2020) (Declaring a National Emergency Concerning
the Novel Coronavirus Disease (COVID-19) Outbreak); In Re: Court Operations in the McAllen Division Under the
Exigent Circumstances Created by the COVID-19 Pandemic, Spec. Order No. M-2021-3 (S.D. Tex. Apr. 1, 2021),
https://www.txs.uscourts.gov/sites/txs/files/Special%20Order%20M-2021-
03%20Court%20Operations%20in%20the%20McAllen%20Division%20During%20COVID-19.pdf.
